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                       UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION


 ELIJAH N. WALKER,

      Plaintiff,

 v.                                            Case No. 1:23-cv-00745-DII

 PHOENIX LAW PC,

      Defendant.

            ORDER ON PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT

      Plaintiff, ELIJAH N. WALKER, by and through the undersigned, having filed with this

Court his Motion for Clerk’s Entry of Default and the Court having reviewed same, hereby

ORDERES:

      1. An Entry of Default shall be entered against the Defendant, Phoenix Law PC.



Dated: _______________


                                          /s/ __________________________________
                                          Judge, U.S. District Court
